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SMS/IND
2015R00392



                       UNITED STATES DISTRICT COU RT
                          DISTRICT OFNEW JERSEY

 UNITED STATES OF AMERICA                      Hon. Susan D. Wigenton

        V.                                     Crim. No. 20-494

 SAMORA PATTERSON                              18 U.S.C. § 1956(h) 18
                                               U.S.C. § 1957(a) 18
                                               u.s.c. § 2

                                IN D I C TMEN T

         The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges:

                                   COUNT ONE
                   (Conspiracy to Transact in Criminal Proceeds)

                                   Background

         1.   Unless otherwise indicated, at all times relevant to this Indictment:

              a.    Defendant Samora Patterson ("PATTERSON") resided 1n a

home in or around Irvington, New Jersey (the "Irvington Residence").

              b.    Defendant PATTERSON created and controlled Samora

Construction, LLC, and Patterson Investment Group, LLC, both located in or

around East Orange, New Jersey.

              c.    Defendant PATTERSON maintained a bank account opened in

or around New Jersey under the company name "Samora Construction, LLC"

with Bank A, a financial institution, as defined in Title 18, United States Code,

Section 1956(c)(7), with branch offices located in the District of New Jersey and

elsewhere (the "Samora Construction Account").
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                       CASE NUMBER: --494--
                                    20-

            United States District Court
              District of New Jersey
               UNITED STATES OF AMERICA

                                v.

                    SAMORA PATTERSON

                   INDICTMENT FOR
                  18 U.S.C. §§ 1956(h), 1957(a)
                          18 u.s.c. § 2



                           1.    r

                      CRAIG CARPENITO
                    UNITED STATES ATTORNEY
                       NEWARK, NEW JERSEY

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